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                      No. 25-1555 (and consolidated cases)
          ════════════════════════════════════════
                UNITED STATES COURT OF APPEALS
                        FOR THE THIRD CIRCUIT
                 ──────────────────────────────
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED PER-
 SONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2, A LAW ENFORCE-
MENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY; JUSTYNA MALONEY; PAT-
         RICK COLLIGAN; PETER ANDREYEV; AND WILLIAM SULLIVAN,
                              Plaintiffs-Appellees,
                                       v.
                          WE INFORM LLC, ET AL.,
                           Defendants-Appellants.
                ──────────────────────────────
             On Appeal from the Judgment of the United States
                District Court for the District of New Jersey
                         (Dist. Ct. No. 24-cv-4037)
         ════════════════════════════════════════
      BRIEF OF AMICI CURIAE STATE OF OHIO, 40 OTHER STATES, AND
           THE DISTRICT OF COLUMBIA SUPPORTING APPELLEES
         ════════════════════════════════════════
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       INTRODUCTION AND STATEMENT OF AMICI INTEREST

   “There isn’t a day that I don’t realize my job cost me the life of my only child.”

District Judge Esther Salas spoke those words to state lawmakers a few years after

an unhinged lawyer showed up at her home and murdered her son, Daniel Anderl.

Lisa Ryckman, States and Congress Act to Protect Judicial and Election Workers, NCSL

(Aug. 16, 2023), https://tinyurl.com/3e44x4u8. Judge Salas’s tragic loss offers one

extreme example of violence against public servants. There have been many others

in our Nation’s history. But while public service has always carried certain risks, the

dangers have greatly increased in recent years. Today, there is nothing unusual

about threats and attacks directed at government officials. Public servants—of all

parties, in all branches, at all levels of government—face those dangers every day.

   Technology stokes the fire. In modern times, personal information about public

officials is often only a few clicks aways. Thus, with minimal thought or effort, dis-

gruntled individuals can easily gain access to the homes and lives of whichever public

officials draw their ire. To reduce these modern dangers, Congress and state legis-

latures have enacted laws to better protect the personal information of public offi-

cials. This case, for instance, involves “Daniel’s Law,” a New Jersey statute that

prohibits the unconsented disclosure of a public official’s home address and un-

published telephone number. N.J. Stat. Ann. §56:8–166.1. Many support such



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common-sense legislation. Just last year, Chief Justice Roberts expressed his grati-

tude “to the many federal and state legislators who have stepped forward to sponsor

bills shielding judges’ personal identifying information from the public domain.”

2024 Year End Report on the Federal Judiciary, at 6, https://perma.cc/GZV2-

D8XX (“2024 Year End Report”).

   Despite that gratitude, this case asks whether the Constitution allows the States

to enact such legislation. The answer is “yes, it does.” The Supreme Court has

long recognized that protecting public servants is a critical aspect of sovereignty. In

re Neagle, 135 U.S. 1, 59, 64 (1890). Because the States are sovereigns in their own

right, see Blatchford v. Native Village of Noatak, 501 U.S. 775, 779 (1991), they share

that responsibility in our federalist system. Indeed, our constitutional structure ex-

pects the States to act “as laboratories” of democracy, “devising solutions” to new

and difficult problems. Ariz. State Legis. v. Ariz. Indep. Redistricting Comm’n, 576

U.S. 787, 817 (2015). Coming up with ways to better protect public servants in the

digital age fits that description to a T.

   The First Amendment does not prohibit the States from acting on their sovereign

duty. Rather, it leaves room for States to safeguard people’s privacy when important

interests are at stake but no speech of public significance is at risk. See Florida Star

v. B.J.F., 491 U.S. 524, 536–37 (1989). Here, the States’ interests in protecting their



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public servants could not be more compelling. In stark contrast, the limited infor-

mation on the line (public servant’s home addresses and personal phone numbers)

is of little public significance, at least in the usual case. Said another way, restricting

the disclosure of such limited personal identifying information does nothing to

“raise[] the specter that the Government may effectively drive certain ideas or view-

points from the marketplace.” See Davenport v. Wash. Educ. Ass’n, 551 U.S. 177, 188

(2007) (quotation omitted). Because the risk of viewpoint discrimination “is incon-

sequential” in these situations, see id., the States retain the sovereign power to pro-

tect their state and local officials from personal dangers in the digital age.

   For these reasons, the amici States are interested in this case. They urge the

Court to uphold Daniel’s Law and to reject the defendants’ call for strict scrutiny.

                           SUMMARY OF ARGUMENT

   I. Public servants have always run the risk that disgruntled citizens might lash out

against them physically. Over the years, many government officials have lost their

lives—or the lives of their loved ones—because of violence related to their public

service. Often, these tragedies happen at the official’s personal home. And the dan-

gers of unwanted and violent home visits have only increased with advancing tech-

nology. With modern practices such as “doxing”—whereby critics maliciously post

personal information online to try and incite harassment—it has become much easier



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for unstable individuals to gain access to the personal lives of whichever public offi-

cials they happen to despise.

   Violence against public officials threatens government at all branches and levels.

And it also threatens the long-term quality of government. After all, even the best

government officials will be less likely to do what they deem right if they are worried

about violent retaliation against their families. Many good people are already leaving

public service to avoid dangers to themselves and their families. And many that re-

main in public service are cutting back on their engagement with constituents, so as

to reduce the risks of threats and violence. None of this improves our government.

   II. To protect public servants in the digital age, Congress and many States have

recently enacted laws prohibiting the disclosure of officials’ personal information.

The defendants say that such laws must survive strict scrutiny under the First

Amendment. They are wrong for many reasons. The amici States emphasize two of

those reasons, both of which flow from first principles of our constitutional order.

   First, sovereignty necessarily entails responsibility to protect public servants.

Our Constitution, the Supreme Court said long ago, does not leave government of-

ficials “unprotected” against attacks resulting from “the conscientious discharge

of” their duties. In re Neagle, 135 U.S. at 59. The States, as sovereigns in our feder-

alist system, also retain the power to protect their officials. It would thus be quite



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radical to say that the First Amendment presumptively strips the States of their abil-

ity to perform this sovereign function under the circumstances of this case.

   Second, our federalist system expects that States will act as laboratories for apply-

ing old principles to new problems that the founding generation could not have pre-

dicted. See Ariz. State Legis., 576 U.S. at 817. Modern security problems such as

doxing fall comfortably within that mold. The defendants’ call for strict scrutiny, it

follows, should give this Court considerable pause. That demanding standard would

necessarily limit the States’ ability to devise creative solutions in this new area.

                                    ARGUMENT

   When private citizens enter public service, they expose themselves and their fam-

ilies to increased risks of violence. The States, as responsible sovereigns, must pro-

tect their officials from such dangers. In entering the Union, the States did not sur-

render the ability to protect their officials against newly emerging dangers. The First

Amendment says nothing to the contrary.

   Through this brief, the amici States give shape to the threats that public officials

face today. They then explain why our original constitutional structure cuts strongly

against applying strict scrutiny to laws such as Daniel’s Law.




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I.        Protecting public servants is vital to effective government.

     The Court cannot fully appreciate the lives at stake in the abstract. Historical and

recent examples help illustrate the dangers that government officials face because of

their public service.

     A.      Public officials have always faced dangers, but those dangers have
             increased in recent years.

     Public servants have long confronted dangers associated with the discharge of

their duties. A few tragedies involving public servants, such as presidential assassi-

nations, no doubt come immediately to mind. Others are less well known.

     To provide some historical perspective, start with an incident from 1889. That

year, a deadly encounter occurred between David S. Terry and Justice Stephen John-

son Field. See generally In re Neagle, 135 U.S. 1. Justice Field made an enemy out of

Terry while serving on the Ninth Circuit (as a circuit rider for the Supreme Court).

Specifically, Justice Field ruled against Terry’s wife in an inheritance dispute involv-

ing her alleged marriage to another man. In re Neagle, 135 U.S. at 44–45. Terry’s

wife believed that Justice Field “had been bought,” so she threatened to kill him. Id.

at 45–46. Terry shared that belief. And he eventually acted on his wife’s threat,

attacking Justice Field in a train car. Id. at 52–53. Terry struck the Justice with re-

peated blows. Id. And, amidst those blows, it appeared to the U.S. Marshall




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(Neagle) that Terry was drawing a knife. Id. at 53. In response, Neagle shot Terry

twice and killed him. Id.

   Judges have continued to face violence since then. Over the last 50 years, four

federal judges have been murdered. Judicial Security Legislation Stalls, Awaits Con-

gressional Action in 2021, U.S. Courts (Dec. 17, 2020), https://perma.cc/7VMD-

VMHP (“Judicial Security Legislation Stalls”); see Judges Targeted Fast Facts, CNN

(last updated April 15, 2025), https://perma.cc/D57V-DXFG (“Judges Targeted

Fast Facts”). In 1979, a rifle shot killed District Judge John H. Wood Jr. while he was

leaving his Texas home for work. Madalyn Mendoza, Forty years ago, U.S. District

Judge Wood assassinated in San Antonio by Woody Harrelson’s father, San Antonio

News (May 19, 2019), https://tinyurl.com/5yv4phhc. A decade later, District Judge

Richard Daronco was shot and killed at his New York home by a man upset over a

court ruling. Judges Targeted Fast Facts. The next year, a mail bomb took the life of

Eleventh Circuit Judge Robert Vance at his Alabama home. Id.

   Justice Kavanaugh was more recently a target. A man dressed in black—armed

with a gun, knife, zip-ties, and burglary tools—was caught outside the Justice’s home

in the middle of the night. Scott MacFarlane & Melissa Quinn, Nicholas Roske, man

accused of trying to kill Brett Kavanaugh, intends to plead guilty, court documents show,

CBS News (April 2, 2025), https://perma.cc/2GVS-XEMB. The man admitted



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that he was there to kill a “specific United States Supreme Court justice.” Id. (quot-

ing a court filing).

   State court judges also face violence because of their service. A few years ago, a

shooter ambushed an Ohio trial judge—Joseph J. Bruzzese Jr.—outside of a county

courthouse. Dan Trevas, Video of Judge Shooting Must Be Released By Jefferson

County, Court News Ohio (Nov. 24, 2020), https://tinyurl.com/544f4jfx. Luckily,

Judge Bruzzese—who returned gunfire in response to the attack—survived the

shooting. Id. Other state judges, however, have not been so fortunate. Three years

ago, a Wisconsin judge, John Roemer, was murdered in his home by a man he had

previously sentenced. Judges Targeted Fast Facts. Two years ago, a Washington

judge, Andrew Wilkinson, was fatally shot in his driveway by a disgruntled child-

custody litigant. Id. And last year, a Kentucky judge, Kevin Mullins, was killed in

his chambers. Id.

   People serving in other branches of government likewise encounter violence.

Consider, for example, state lawmakers. As part of a recent survey, over 40 percent

of the responding state lawmakers reported threats of harm to themselves or their

loved ones. Gowri Ramachandran, et al., Intimidation of State and Local Officeholders,

Brennan Center for Justice, at 7 (Jan. 25, 2024) (“Intimidation of State and Local Of-

ficeholders”), https://tinyurl.com/4be52hm6. One surveyed lawmaker recounted



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how threateners had identified her home address and made known their intent to

rape her. Id. at 14. Another described how critics had used photos of her home to

threaten her children. Id.

   And things do not always stop at threats: four percent of the state lawmakers

surveyed reported being the victims of physical attacks. Id. at 7.

   Survey responses from local officeholders were alarming, too. More than 18 per-

cent of local officeholders reported experiencing threats or attacks within the last

year and a half. Id. at 3. Local election officials have reported threats and harassment

in comparable numbers. See Press Release: Local Elected Officials Report Increase in

Harassment in Lead-Up to Election, Princeton University Bridging Divides Initiative

(Nov. 22, 2024), https://perma.cc/GF52-YB2S.

   And threats to public servants are on the rise. A 2024 study—reviewing federal

charges against individuals for making threats against public officials—concluded

that threats “began to spike in 2017 corresponding with a general increase in polari-

zation,” with “gradual, steady increases” since then. Pete Simi, et al., Rising Threats

to Public Officials: A Review of 10 Years of Federal Data, CTC Sentinel (May 2024),

https://perma.cc/PTD2-G2Y8. The study further noted that the number of federal

prosecutions for threats against public servants is currently on pace to reach record

highs. Id. at 20. Statistics from the U.S. Marshals paint a similar picture. See



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Judicial Security Legislation Stalls. In 2015, the Marshalls reported 926 “threats and

inappropriate communications” targeting federal judges. Id. By 2021, that number

was up to 4,449. Id.; see also 2024 Year End Report at 5 (noting that “there has been

a significant uptick in identified threats at all levels of the judiciary”). Along similar

lines, many state lawmakers reported that the threat climate has gotten worse over

their time in office. See Intimidation of State and Local Officeholders at 8.

   Modern-day technology often facilitates and promotes further intimidation.

Chief Justice Roberts noted this concern within his most recent year-end report

about the judiciary. He observed that disappointed litigants often “rage at judicial

decisions on the Internet, urging readers to send a message to the judge.” 2024 Year

End Report at 6. More troubling, some “critics deploy ‘doxing’—the practice of

releasing otherwise private information such as addresses and phone numbers.” Id.

Doxing, the Chief Justice went on, often leads “to a flood of angry, profane phone

calls to the judge’s office or home.” Id. Worse still, doxing sometimes “prompt[s]

visits to the judge’s home, whether by a group of protestors or, worse, an unstable

individual carrying a cache of weapons.” Id. at 7. Again, these problems do not stop

with the judiciary. Several state lawmakers recently “reported that people who had

targeted them with abuse knew and even publicized their home addresses or facts

about their children.” Intimidation of State and Local Officeholders at 22.



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   All too often, families get caught in the crossfires of this violence. Daniel’s Law

serves as one painful reminder, but there are others. In 1999, an L.A. County Court

Commissioner (H. George Taylor) and his wife were murdered at their homes.

Judges Targeted Fast Facts. In 2005, a losing plaintiff murdered the husband and

mother of District Judge Joan Humphrey Lefkow at the family’s home. Id. More

recently, a deranged individual attacked the husband of former House Speaker Nanci

Pelosi with a hammer in their home. David K. Li & Mirna Alsharif, David DePape,

man who attacked Paul Pelosi with a hammer, sentenced to 30 years in prison, NBC News

(May 17, 2024), https://tinyurl.com/2f9smf6a. These examples reinforce that when

citizens choose to serve the public, they expose their families to serious risks.

   B.     Threats and violence directed at public servants lower the quality of
          our government.

   Public servants and their families obviously suffer from this violence most directly

and most severely. But violence against government officials also does lasting dam-

age to the effectiveness of the American form of republican self-government. That

government provides its essential public goods through coordinate branches that de-

pend on the honest services of men and women of character, who will seek and hold

legislative, executive, and judicial offices.

   Consider, for instance, the harm of violence or threats to judicial independence.

“Judicial independence is one of the touchstones of our constitutional system of


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government.” William H. Rehnquist, Judicial Independence, 38 U. Rich. L. Rev. 579,

579 (2004). To function properly, the judiciary must not become “subservient to”

the opinions of others. Id. at 596; accord Williams-Yulee v. Fla. Bar, 575 U.S. 433, 457

(2015). But judges will be far less likely to act independently if they fear reprisal in

the form of violence against themselves or their families. See 2024 Year End Report

at 5. Or, to borrow Alexander Hamilton’s words, for “the power of judging” to re-

main independent, “all possible care is requisite to enable it to defend itself against

… attack.” Federalist No. 78.

   Violence against public officials takes its toll in other ways, too. Recent surveys

showed that many local and state officeholders are less willing to continue their pub-

lic service due to the abuse they have experienced. Intimidation of State and Local

Officeholders at 16. As one state senator poignantly questioned, “Is it worth me put-

ting my family at risk because I vote a certain way, I espouse certain ideals?” Id.

Many election officials have also left their positions in recent years. Id. That turno-

ver puts election administration—including administration of presidential elec-

tions—in the hands of less experienced people. Id.

   Even for those public servants who remain in office, there are more subtle conse-

quences for the quality of government services. To illustrate, 39 percent of local

officeholders and 21 percent of state legislators reported “that they are less willing



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to advocate for contentious policies due to abuse.” Id. One state lawmaker, who

held moderate views, emphasized that threats “come[] from every direction” on

controversial topics. Id. Another explained that she stopped proposing hot-button

legislation because “my kids were too little, the threats were too common and too on

point.” Id. at 19. Many state and local officials also tried to limit their exposure to

abuse by cutting back on public interactions with their constituents. Id. That ap-

proach, by its very nature, reduces citizens’ access to their officeholders and dimin-

ishes the democratic accountability that representative government assumes.

      The bottom line is simple. Democratic self-government depends on wise states-

men willing to serve. Violence against public servants reduces the number of people

willing to serve; and it often reduces the quality of service from those who remain.

II.      The Court should reject calls for strict scrutiny.

      Of course, if the First Amendment truly prohibited the States from acting to pro-

tect their officials, that would be the cost of entry into the Union. But the First

Amendment does no such thing. As everyone seems to agree, protecting public serv-

ants is “a state interest of the highest order.” See Florida Star, 491 U.S. at 537 (quo-

tation omitted). And, at least in most applications, the personal identifying infor-

mation of public servants—such as their home addresses and cell-phone numbers—

is of no “public significance.” See id. at 536 (quotation omitted). Given that lopsided



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comparison, laws like Daniel’s Law will readily survive review under nearly any con-

ceivable First Amendment standard.

   Perhaps recognizing as much, the defendants in this case push for strict scrutiny.

As New Jersey and the plaintiffs aptly explain, that is the wrong standard. See Atlas

Br.14–15; N.J. Br.14. For starters, the Supreme Court has already developed a stand-

ard for evaluating laws that involve the clash between speech rights “and state-pro-

tected privacy interests.” Florida Star, 491 U.S. at 530; see id. at 536–37, 540. The

Court has intentionally kept that standard “less sweeping” than strict scrutiny. See

id. at 533. And even assuming that laws like Daniel’s Law are properly dubbed “con-

tent-based,” not all content-based laws receive strict scrutiny under the First

Amendment. Davenport, 551 U.S. at 188. Instead, “strict scrutiny is unwarranted”

when a law does not “raise[] the specter that the Government may effectively drive

certain ideas or viewpoints from the marketplace.” Id. Here, it is hard to imagine

how limiting the publication of modest pieces of personal identifying information will

drive any ideas out of the marketplace. Remember, also, that the defendants bring a

facial challenge against Daniel’s law. Such challenges evaluate “a law’s full set of

applications.” Moody v. NetChoice, LLC, 603 U.S. 707, 718 (2024). That matters

here because many potential applications of Daniel’s law—such as selling govern-

ment officials’ personal information—will at most involve commercial speech,



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which is subject to a lower standard of constitutional review. See Cent. Hudson Gas

& Elec. Corp. v. Public Serv. Comm’n, 447 U.S. 557, 561–63 (1980).

   Beyond those points, the amici States emphasize two more. First, in entering the

Union, the States retained the bulk of their sovereignty. And protecting public serv-

ants is an inherent part of that sovereignty. Second, in our federalist system, the

States are supposed to act as laboratories of democracy, devising solutions to apply

enduring principles to new and complicated problems. Subjecting this law and oth-

ers like it to strict scrutiny would inhibit the States from experimenting with different

ways to protect their government officials from dangers that modern technology ex-

acerbates.

   A.     Protecting public servants is a vital part of the States’ sovereignty.

   Return to In re Neagle. Above 6–7 (recounting the case’s facts). The legal ques-

tion in that case was whether the U.S. Marshall who killed Terry was immune from

state prosecution. The Supreme Court said that the Marshall was immune because

he was acting under federal law. In re Neagle, 135 U.S. at 76. The Court, however,

did not point to any federal statute empowering the Marshall to do what he did. Id.

at 63. The Court instead reasoned that protection of judges was implicit in the faith-

ful execution of the law. Id. It “would be a great reproach to the system of govern-

ment of the United States,” the Court explained, “if there is to be found within the



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domain of its powers no means of protecting the judges, in the conscientious and

faithful discharge of their duties, from the malice and hatred of those upon whom

their judgments may operate unfavorably.” Id. at 59. The Court further elaborated

that it would be “very insufficient” if the Constitution “left the high officers of the

government so defenceless and unprotected.” Id. The Court thus concluded that

the federal government’s power to afford its judges sufficient “protection” was “im-

plied by the nature of the government under the Constitution.” Id. at 64.

   The same implication empowers the States. When the States entered the Union,

they did so “with their sovereignty intact.” Blatchford, 501 U.S. at 779. Under the

Tenth Amendment, the States retained those powers they did not expressly surren-

der to the federal government. See U.S. Const. amend. X. Thus, if protecting public

servants is a necessarily implied aspect of effective sovereignty, then the States pos-

sess that power. See In re Neagle, 135 U.S. at 59, 64. And the States’ retained powers

also include a “police power,” the “broad authority to enact legislation for the public

good.” Bond v. United States, 572 U.S. 844, 854 (2014). When federal law relieves

the States of their traditional powers, it typically does so through clear statements

that leave little doubt. Id. at 857–58. Adding up these foundational principles, it

would be quite surprising—to say the least—if the First Amendment subtly stripped




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the States of the ability to protect their public officials from newly emerging security

problems in the digital age.

   B.     Strict scrutiny would unduly restrain the States’ ability to devise
          solutions to new security threats.

   Another aspect of our federalist system bolsters that last point. A key benefit of

divided sovereignty is that the States may “devise various solutions” to problems

“where the best solution is far from clear.” Ariz. State Legis., 576 U.S. at 817 (quot-

ing United States v. Lopez, 514 U.S. 549, 581 (1995) (Kennedy, J., concurring)); cf.

Jeffrey S. Sutton, 51 Imperfect Solutions: States and the Making of American Constitu-

tional Law 210 (2018). As Justice Brandeis once put it, one of the “happy incidents

of the federal system” is that even “a single courageous State may” attempt a novel

solution to a problem “without risk to the rest of country.” New State Ice Co. v.

Liebmann, 285 U.S. 262, 311 (1932) (Brandeis, J., dissenting). Permitting space for

state lawmaking in new areas does many good things: it “allows local policies more

sensitive to the diverse needs of a heterogeneous society”; it “permits innovation

and experimentation”; it “enables greater citizen involvement in democratic pro-

cesses”; and it “makes government more responsive by putting the States in com-

petition for a mobile citizenry.” Ariz. State Legis., 576 U.S. at 817 (quotation omit-

ted).




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   At present, the States are devising solutions to modern security threats, such as

doxing. They employ various approaches to protecting the personal information of

their public servants and/or election officials. See, e.g., Ariz. Stat. Rev. Ann. §11-

483; Cal. Gov. Code §6254.21; Col. Rev. Stat. §18-9-313.5; 705 Ill. Comp. Stat.

§§90/1-1, 2-5, 3-1; Nev. Rev. Stat. §293.908; Ohio Rev. Code §149.43(A)(1)(p);

Okla. Stat. §21-1176; Or. Rev. Stat. §247.965; Tex. Gov. Code §552.117; Wash. Rev.

Code §4.24.680. Which approach works best remains an open question. And many

have called on the States to do even more in this field. See Intimidation of State and

Local Officeholders at 22.

   Congress has also entered the mix. A few years ago, it enacted the Daniel Anderl

Judicial Security and Privacy Act. Pub. L. No. 117-263, §5931. That Act makes it

generally unlawful for business or individuals to publicly post on the internet the per-

sonal information of federal judges and their families. See id. at §§5933, 5934(d).

State officials across the ideological spectrum overwhelmingly supported Congress’s

efforts. See Letter from State Attorneys General to Lindsey Graham, et al. (Dec. 14,

2020), https://perma.cc/2ST9-QZA2 (letter of support signed by the Attorneys

General of 46 States, the District of Columbia, and multiple territories). But, as

Judge Salas has observed, there is still work to be done. For example, the federal

version of Daniel’s Law “doesn’t cover the 30,000 state and local judges that also



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put their lives on the line to serve the public.” Ryckman, States and Congress Act to

Protect Judicial and Election Workers.

   Strict scrutiny would seriously limit the States from acting as the founders who

designed the Constitution understood they would—as laboratories of democracy.

Under that “demanding standard,” a law survives only if it is narrowly drawn to

serve a compelling government interest. Brown v. Ent. Merchs. Ass’n, 564 U.S. 786,

799 (2011). Challengers may simultaneously criticize a law for being overinclusive

(doing too much) and underinclusive (doing too little). Id. at 802, 804. That stand-

ard necessarily interferes with state experimentation, as it assumes that judges can

discern a “least restrictive means” of achieving the state interests at stake. See

McCullen v. Coakley, 573 U.S. 464, 478 (2014). In practice, “strict scrutiny readily,

and almost always, results in invalidation.” Vieth v. Jubelirer, 541 U.S. 267, 294

(2004) (plurality op.). Thus, under a strict-scrutiny approach, any law restricting

the publication of personal identification information—including the federal version

of Daniel’s Law—would presumably be in jeopardy.

   One final point about technology. It “would be foolish to” think that technology

has no effect on constitutional analysis. Kyllo v. United States, 533 U.S. 27, 33–34

(2001). Even so, the Supreme Court has recognized that there are “limits” to how

much technology may “shrink” constitutional expectations. Id. at 34. It follows that



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there must be some limit to how much technology may shrink the constitutional ex-

pectation that the government will be able to effectively protect its public servants.

See In re Neagle, 135 U.S. at 59, 64. On a more practical level, the Supreme Court

has stressed the need to “tread carefully” in areas of technological development so

as to “not ‘embarrass the future.’” Carpenter v. United States, 585 U.S. 296, 316

(2018) (quoting Northwest Airlines, Inc. v. Minnesota, 322 U. S. 292, 300 (1944)).

Whereas here, by calling for strict scrutiny, the defendants ask this Court to take a

much less cautious approach. That is a sure sign they are wrong.

                                  CONCLUSION

   The Court should affirm.


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